Cgse 2:18-0\/- 024 69- SH L-Cgc Document 7 Filed 07/23/18 Page 1 of 2 Page|D 16
ase 2:18-cv-02469 SHL -cgc Document 6 Filed 07/12/18 Page 1 of 2 Page|D 14

AO 440 (Rev. 06/12) Sum.mons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Tennessee

AUDREY SEYMOURE

 

Pl'ainrt'jjsr)n q n

V. Civil Act,ion No_ 221BCV2469 SHUCgC

C.R. ENGL/M\|Dl |NC.

 

\'/\./‘-¢-/\_/\_/\-/\-_/\~»/\_/\-/W\\_/

Defendam(s)

SUMM()NS lN A CIVIL ACTION

TOZ (Defendant’s name andaddress) C.R. Ei'|gland, InC.
cio Registered Agent, C T Corporation System
300 N|ontvue Road
Knoxvi|le, TN 37919-5546

A lawsuit has been filed against you

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be Served on the plaintiff or plaintiff s attorney,
Whose name and address are: Frank H. Kerney, lII, Esquire

Morgan & Morgan, Tampa, P.A.
One Tampa City Center

201 N. Frank|in Street, 7th Ftoor
Tampa1 FL 33602

Te|e: (813) 223-5505
FKerney@ForThePeople.com

If you fail to respond, judgment by default Will be entered against you for the relief demanded in the complaint
You also must tile your answer or motion With the court.

CLERK oF CO URT

Date: 07/12/2018 iv 3 any §jaaiey

 

 

Signcrture OfClerk. or Depu{y -C[erk

' - - - HL-c c Document7 Filed 07/23/18 Page20f2 Page|D 17
Cé‘§§ezzi§s§‘c’v@dz‘lfegQ-§HL-c%c comments Filed 07/12/18 Pagezorz Pagelo 15

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 21180v2469 SHL/cgc

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

Tl‘llS SUII)IHOHS for (name of individual and litle, ifany) ar C(Q{~PG ;\.C:.| ;k c o A §§ ,£¥é"m
was received by me on (daze) ‘e_’ ¢ 3 .

EI I personally served the summons on the individual at (place)

011 (date) ; Or

El l leH the summons at the individual’s residence or usual place of abode with (mme)

, a person of suitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s last known address; or

Ei(served the summons on (name ofindiv:‘duai) &Jm_`,\ c 55 w,`,_`, 0 n , C:[ lsme
designated by law to accept service of process on behalf of (name aforganizarion) _ c “ _
C;Qm (z_l\%lo`gni,

.Inc . ,i iii _ 011 (da¢e) 95 3 y_aa ams ,or "

fl I returned the summons unexecuted because ; or

 

|:l ther (specl'jj)):

My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date: ;SL\~_\LL _§~_D)QB{K CJ`~_\¢.£AU..BQM¢€S . gaming _.`,i___¥_
erv signana~e
§ `E|d:\cs `W.M$-_- f
Pr'n dname and title

MM+MMMSMQM _%TQ\S 7918'

Server ’s a

Additional information regarding attempted service, etc:

